Case 23-18993-MBK             Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07                            Desc Main
                                      Document    Page 1 of 16


     KIRKLAND & ELLIS LLP                                     COLE SCHOTZ P.C.
     KIRKLAND & ELLIS INTERNATIONAL LLP                       Michael D. Sirota, Esq.
     Edward O. Sassower, P.C.                                 Warren A. Usatine, Esq.
     Joshua A. Sussberg, P.C. (admitted pro hac vice)         Felice R. Yudkin, Esq.
     Aparna Yenamandra, P.C. (admitted pro hac vice)          Seth Van Aalten, Esq. (admitted pro hac vice)
     Ross J. Fiedler (admitted pro hac vice)                  Court Plaza North, 25 Main Street
     Zachary R. Manning (admitted pro hac vice)               Hackensack, New Jersey 07601
     601 Lexington Avenue                                     Telephone: (201) 489-3000
     New York, New York 10022
                                                              msirota@coleschotz.com
     Telephone: (212) 446-4800
                                                              wusatine@coleschotz.com
     Facsimile: (212) 446-4900
     esassower@kirkland.com                                   fyudkin@coleschotz.com
     joshua.sussberg@kirkland.com                             svanaalten@coleschotz.com
     aparna.yenamandra@kirkland.com
     ross.fiedler@kirkland.com
     zach.manning@kirkland.com                                Co-Counsel to the Debtors and
                                                              Debtors in Possession

     Co-Counsel to the Debtors and
     Debtors in Possession


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 RITE AID CORPORATION, et al.,                                 Case No. 23-18993 (MBK)

                                      Debtors. 1               (Jointly Administered)



                            NOTICE OF REJECTION OF
             CERTAIN EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES

 PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND THEIR
 CONTRACTS OR LEASES ON SCHEDULE 1 ATTACHED HERETO AND READ THE
 CONTENTS OF THIS NOTICE CAREFULLY.




 1     The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
       Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
       website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid. The location of
       Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in these chapter 11
       cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
Case 23-18993-MBK           Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07                           Desc Main
                                    Document    Page 2 of 16



         PLEASE TAKE NOTICE that on November 20, 2023, the United States Bankruptcy

 Court for the District of New Jersey (the “Court”) entered an order on the motion (the “Motion”) 2

 of debtors and debtors in possession (the “Debtors”) (i) authorizing and approving procedures to

 reject, assume, or assume and assign executory contracts and unexpired leases and (ii) granting

 related relief [Docket No. 702] (the “Procedures Order”).

         PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by this

 written notice (this “Rejection Notice”), the Debtors hereby notify you that they have determined,

 in the exercise of their business judgment, that each Contract set forth on Schedule 1

 (the “Rejection Schedule”) annexed to the proposed form of order attached hereto as Exhibit 1 is

 hereby rejected effective as of the date (the “Rejection Date”) set forth on Schedule 1 or such other

 date to which the Debtors and the counterparty or counterparties to any such Contract agree. For

 unexpired leases, the rejection effective date shall be the later of (a) the proposed effective date set

 forth on the Rejection Notice; and (b) the date the Debtors relinquish control of the premises by

 (1) notifying the affected landlord in writing, with email being sufficient, of the Debtors’ surrender

 of the premises and turning over keys, key codes, and security codes, if any, to the affected landlord

 or (2) notifying the affected landlord in writing, with email being sufficient, that the keys, key

 codes, and security codes, if any, are not available, but that the landlord may rekey the leased

 premises.

         PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

 rejection of any of the Contracts must file and serve a written objection so that such objection is

 filed with the Court on the docket of the Debtors’ chapter 11 cases and is actually received by the

 following parties no later than ten days after the date that the Debtors filed and served this Notice:


 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


                                                         2
Case 23-18993-MBK       Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07               Desc Main
                                Document    Page 3 of 16



 (a) the Debtors, Rite Aid Corporation, 1200 Intrepid Avenue, 2nd Floor, Philadelphia,

 Pennsylvania 19112; (b) proposed counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington

 Avenue, New York, New York 10022, Attn: Joshua A. Sussberg, P.C., Aparna Yenamandra, P.C.,

 Ross J. Fiedler, and Zachary R. Manning; (c) proposed co-counsel to the Debtors, Cole Schotz

 P.C., Court Plaza North, 25 Main Street; Hackensack, New Jersey 07601, Attn: Michael D. Sirota,

 Felice R. Yudkin, and Seth Van Aalten; (d) the applicable Rejection Counterparty; (e) counsel to

 the Ad Hoc Secured Noteholder Group, Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285

 Avenue of the Americas, New York, New York 1001 Attn.:                   Andrew N. Rosenberg

 (arosenberg@paulweiss.com), Brian S. Hermann (bhermann@paulweiss.com) and Christopher

 Hopkins (chopkins@paulweiss.com); (f) counsel to the Ad Hoc Secured Noteholder Group, Fox

 Rothschild LLP, 49 Market Street, Morristown, New Jersey, 07960, Attn: Howard A. Cohen

 (hcohen@foxrothschild.com); Joseph J. DiPasquale (jdipasquale@foxrothschild.com) and

 Michael R. Herz (mherz@foxrothschild.com); (g) counsel to the DIP Agents, Choate, Hall &

 Stewart LLP, Two International Place, Boston, MA 02110, Attn:                   John F. Ventola

 (jventola@choate.com); Jonathan D. Marshall (jmarshall@choate.com); and Mark D. Silva

 (msilva@choate.com) and Greenberg Traurig, LLP, 500 Campus Drive, Suite 400, Florham Park,

 New Jersey 07932, Attn:        Alan J. Brody (brodya@gtlaw.com) and Oscar N. Pinkas

 (pinkaso@gtlaw.com) (h) the Office of the United States Trustee for the District of New Jersey,

 One Newark Center, 1085 Raymond Boulevard, suite 2100, Newark, New Jersey 07102, Attn:

 Jeffrey    M.      Sponder      (jeffrey.m.sponder@usdoj.gov)      and      Lauren        Bielskie

 (lauren.bielskie@usdoj.gov); and (i) counsel to the Official Committee of Unsecured Creditors,

 Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, New York

 10036,    Attn:      Adam      Rogoff    (ARogoff@kramerlevin.com)        and     Nancy     Bello


                                                3
Case 23-18993-MBK            Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07                                Desc Main
                                     Document    Page 4 of 16



 (nbello@kramerlevin.com) and Kelley Drye & Warren LLP, One Jefferson Road, 2nd Floor,

 Parsippany, NJ 07054, Attn:             Robert LeHane (rlehane@kelleydrye.com) and Connie Choe

 (cchoe@kelleydrye.com); (j) proposed counsel to the Official Committee of Tort Claimants, Akin

 Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, New York 10036, Attn: Arik

 Preis (apreis@akingump.com), Mitchell P. Hurley (mhurley@akingump.com), Kate Doorley

 (kdoorley@akingump.com), Theodore James Salwen (jsalwen@akingump.com), and Brooks

 Barker (bbarker@akingump.com); and (k) Sherman, Silverstein, Kohl, Rose & Podolsky, P.A.,

 457 Haddonfield Rd. #300, Cherry Hill, NJ 08002, Attn;                                   Arthur J. Abramowitz

 (aabramowitz@shermansilverstein.com) and Ross Switkes (rswitkes@shermansilverstein.com).

         PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

 Debtors shall file a Rejection Order under a certificate of no objection. The rejection of each

 Contract listed in this Rejection Notice shall become effective on the applicable Rejection Date

 set forth on Schedule 1 or such other date to which the Debtors and the counterparty or

 counterparties to such Contract agree. 3

         PLEASE TAKE FURTHER NOTICE that, if an objection to the rejection of any

 Contract is timely filed and not withdrawn or resolved, the Debtors shall file a notice for a hearing

 to consider the objection for the Contract or Contracts to which such objection relates. If such

 objection is overruled or withdrawn, such Contract will only be deemed rejected upon entry by the

 Court of a consensual form of Rejection Order resolving the objection as between the objecting

 party and the Debtors or, if resolution is not reached and/or the objection is not withdrawn, upon



 3   An objection to the rejection of any particular Contract listed in this Rejection Notice shall not constitute an
     objection to the rejection of any other contract or lease listed in this Rejection Notice. Any objection to the
     rejection of any particular Contract listed in this Rejection must state with specificity the Contract to which it is
     directed. For each particular Contract whose rejection is not timely or properly objected to, such rejection will
     be effective in accordance with this Rejection Notice and the Order.


                                                            4
Case 23-18993-MBK         Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07                   Desc Main
                                  Document    Page 5 of 16



 further order of the Court and shall be rejected as of the applicable Rejection Date set forth in the

 Rejection Notice or such other date to which the Debtors and the applicable Rejection

 Counterparty agree, or as ordered by the Court.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Procedures

 Order, if the Debtors have deposited monies with a Contract counterparty as a security deposit or

 other arrangement, the Contract counterparty may not set off or recoup or otherwise use such

 monies without further order of the Court, unless the Debtors and the counterparty or

 counterparties to such Contracts otherwise agree.

        PLEASE TAKE FURTHER NOTICE that, absent timely objection, any personal

 property of the Debtors that is listed and described on Schedule 1 shall be deemed abandoned as

 of the Rejection Date. With respect to unexpired leases, on the Rejection Date landlords may, in

 their sole discretion and without further notice or order of the Court, utilize and/or dispose of such

 property without notice or liability to the Debtors or third parties and, to the extent applicable, the

 automatic stay will be modified to allow such disposition.

        PLEASE TAKE FURTHER NOTICE that, to the extent you wish to assert a claim with

 respect to rejection of your Contract or Contracts, you must do so on or before the later of

 (a) the deadline for filing proofs of claim established in these chapter 11 cases, if any, and,

 (b) thirty days after the later of (A) the date of entry of the Rejection Order approving rejection of

 the applicable Contract, and (b) the Rejection Date. IF YOU FAIL TO TIMELY SUBMIT A

 PROOF OF CLAIM IN THE APPROPRIATE FORM BY THE DEADLINE SET FORTH

 HEREIN, YOU WILL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM

 (1) ASSERTING SUCH CLAIM AGAINST ANY OF THE DEBTORS AND THEIR CHAPTER

 11 ESTATES, (2) VOTING ON ANY CHAPTER 11 PLAN OF REORGANIZATION FILED IN


                                                   5
Case 23-18993-MBK   Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07   Desc Main
                            Document    Page 6 of 16



 THESE CASES ON ACCOUNT OF SUCH CLAIM, AND (3) PARTICIPATING IN ANY

 DISTRIBUTION IN THE DEBTORS’ CHAPTER 11 CASES ON ACCOUNT OF SUCH

 CLAIM.




                                       6
Case 23-18993-MBK         Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07                Desc Main
                                  Document    Page 7 of 16



Dated: January 29, 2024
                                           /s/ Michael D. Sirota
                                           COLE SCHOTZ P.C.
                                           Michael D. Sirota, Esq.
                                           Warren A. Usatine, Esq.
                                           Felice R. Yudkin, Esq.
                                           Seth Van Aalten, Esq. (admitted pro hac vice)
                                           Court Plaza North, 25 Main Street
                                           Hackensack, New Jersey 07601
                                           Telephone: (201) 489-3000
                                           Email:      msirota@coleschotz.com
                                                       wusatine@coleschotz.com
                                                       fyudkin@coleschotz.com
                                                       svanaalten@coleschotz.com

                                           KIRKLAND & ELLIS LLP
                                           KIRKLAND & ELLIS INTERNATIONAL LLP
                                           Edward O. Sassower, P.C.
                                           Joshua A. Sussberg, P.C. (admitted pro hac vice)
                                           Aparna Yenamandra, P.C. (admitted pro hac vice)
                                           Ross J. Fiedler (admitted pro hac vice)
                                           Zachary R. Manning (admitted pro hac vice)
                                           601 Lexington Avenue
                                           New York, New York 10022
                                           Telephone: (212) 446-4800
                                           Facsimile: (212) 446-4900
                                           Email:        esassower@kirkland.com
                                                         joshua.sussberg@kirkland.com
                                                         aparna.yenamandra@kirkland.com
                                                         ross.fiedler@kirkland.com
                                                         zach.manning@kirkland.com

                                           Co-Counsel to the Debtors and
                                           Debtors in Possession
Case 23-18993-MBK   Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07   Desc Main
                            Document    Page 8 of 16



                                    Exhibit 1

                            Proposed Rejection Order
Case 23-18993-MBK              Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07                            Desc Main
                                       Document    Page 9 of 16


 Caption in Compliance with D.N.J. LBR 9004-1(b)
     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     In re:                                                             Chapter 11

     RITE AID CORPORATION, et al.,                                      Case No. 23-18993 (MBK)

                                        Debtors. 1                      (Jointly Administered)



               NINTH ORDER APPROVING THE REJECTION
         OF CERTAIN EXECUTORY CONTRACTS AND/OR UNEXPIRED
 LEASES AND THE ABANDONMENT OF CERTAIN PERSONAL PROPERTY, IF ANY

              The relief set forth on the following pages, numbered three (3) through five (5), is

 ORDERED.




 1      The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
        Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid. The location of
        Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in these chapter 11
        cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
Case 23-18993-MBK           Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07   Desc Main
                                   Document    Page 10 of 16


 Caption in Compliance with D.N.J. LBR 9004-1(b)
 KIRKLAND & ELLIS LLP
 KIRKLAND & ELLIS INTERNATIONAL LLP
 Edward O. Sassower, P.C.
 Joshua A. Sussberg, P.C. (admitted pro hac vice)
 Aparna Yenamandra, P.C. (admitted pro hac vice)
 Ross J. Fiedler (admitted pro hac vice)
 Zachary R. Manning (admitted pro hac vice)
 601 Lexington Avenue
 New York, New York 10022
 Telephone: (212) 446-4800
 Facsimile: (212) 446-4900
 esassower@kirkland.com
 joshua.sussberg@kirkland.com
 aparna.yenamandra@kirkland.com
 ross.fiedler@kirkland.com
 zach.manning@kirkland.com

 COLE SCHOTZ P.C.
 Michael D. Sirota, Esq.
 Warren A. Usatine, Esq.
 Felice R. Yudkin, Esq.
 Seth Van Aalten, Esq. (admitted pro hac vice)
 Court Plaza North, 25 Main Street
 Hackensack, New Jersey 07601
 Telephone: (201) 489-3000
 msirota@coleschotz.com
 wusatine@coleschotz.com
 fyudkin@coleschotz.com
 svanaalten@coleschotz.com

 Co-Counsel to the Debtors and Debtors in Possession




                                                       2
Case 23-18993-MBK           Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07                            Desc Main
                                   Document    Page 11 of 16
 (Page | 3)
 Debtors:             RITE AID CORPORATION, et al.
 Case No.             23-18993 (MBK)
 Caption of Order:    Ninth Order Approving the Rejection of Certain Executory Contracts and/or
                      Unexpired Leases and the Abandonment of Certain Personal Property, If
                      Any
         Upon the Order (I) Authorizing and Approving Procedures to Reject or Assume Executory

 Contracts and Unexpired Leases and (II) Granting Related Relief (the “Procedures Order”) 1

 [Docket No. 702] of the above-captioned debtors and debtors in possession (collectively,

 the “Debtors”); and the Court having jurisdiction over this matter and the relief requested therein

 pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the Bankruptcy

 Court Under Title 11 of the United States District Court for the District of New Jersey, entered

 July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this Court having found

 that venue of this proceeding and the matter in this district is proper pursuant to 28 U.S.C. §§ 1408

 and 1409; and the Debtors having properly filed and served a Rejection Notice on each applicable

 party as set forth in the Rejection Schedule, attached hereto as Schedule 1, in accordance with the

 terms of the Procedures Order; and no timely objections having been filed to the Rejection of such

 Contracts; and due and proper notice of the Procedures Order and the Rejection Notice having

 been provided to each applicable Rejection Counterparty as set forth in the Rejection Schedule

 and it appearing that no other notice need be provided; and after due deliberation and sufficient

 cause appearing therefor, IT IS HEREBY ORDERED THAT:

         1.       The Contracts listed on the Rejection Schedule attached hereto as Schedule 1 are

 rejected under section 365 of the Bankruptcy Code effective as of the later of the Rejection Date

 listed on Schedule 1 or such other date as the Debtors and the applicable Rejection Counterparty

 agrees; provided, that the Rejection Date for a rejection of a lease of nonresidential real property

 shall not occur until the later of (i) the Rejection Date set forth on Schedule 1 and (ii) the date the



 1   Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Procedures Order.



                                                         3
Case 23-18993-MBK         Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07                   Desc Main
                                 Document    Page 12 of 16
 (Page | 4)
 Debtors:              RITE AID CORPORATION, et al.
 Case No.              23-18993 (MBK)
 Caption of Order:     Ninth Order Approving the Rejection of Certain Executory Contracts and/or
                       Unexpired Leases and the Abandonment of Certain Personal Property, If
                       Any
 Debtors relinquish control of the premises by (A) notifying the affected landlord in writing, with

 email being sufficient, of the Debtors’ surrender of the premises and turning over keys, key codes,

 and security codes, if any, to the affected landlord or (B) notifying the affected landlord in writing,

 with email being sufficient, of the Debtors’ surrender of the premises that the keys, key codes, and

 security codes, if any, are not available, but the landlord may rekey the leased premises.

         2.      The Debtors are authorized, but not directed, at any time on or before the applicable

 Rejection Date, to remove or abandon any of the Debtors’ personal property that may be located

 on the Debtors’ leased premises that are subject to a rejected Contract; provided, however, that

 (i) nothing shall modify any requirement under applicable law with respect to the removal of any

 hazardous materials as defined under the applicable law from any of the Debtors’ leased premises,

 (ii) to the extent the Debtors seek to abandon personal property that contains “personally

 identifiable information,” as that term is defined in section 101(41A) of the Bankruptcy Code

 (the “PII”), the Debtors shall remove the PII from such personal property before abandonment,

 and (iii) the Debtors shall not abandon any medications or medicines. The property will be deemed

 abandoned pursuant to section 554 of the Bankruptcy Code, as is, effective as of the Rejection

 Date. For the avoidance of doubt, and absent any sustained objection as it relates to property at a

 particular premises, any and all property located on the Debtors’ leased premises on the Rejection

 Date of the applicable lease of nonresidential real property shall be deemed abandoned pursuant

 to section 554 of the Bankruptcy Code, as is, effective as of the Rejection Date. Landlords may,

 in their sole discretion and without further notice or order of this Court, utilize and/or dispose of

 such property without notice or liability to the Debtors or third parties and, to the extent applicable,

 the automatic stay is modified to allow such disposition.


                                                    4
Case 23-18993-MBK         Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07                   Desc Main
                                 Document    Page 13 of 16
 (Page | 5)
 Debtors:             RITE AID CORPORATION, et al.
 Case No.             23-18993 (MBK)
 Caption of Order:    Ninth Order Approving the Rejection of Certain Executory Contracts and/or
                      Unexpired Leases and the Abandonment of Certain Personal Property, If
                      Any
        3.      Notwithstanding the foregoing, the Debtors’ abandonment of their interests in any

 equipment or other Personal Property belonging to PepsiCo, Inc. its affiliates, or affiliated bottlers

 (collectively, the “Pepsi Entities”) shall not sever or otherwise impact any ownership interest of

 the Pepsi Entities in any equipment or Personal Property being abandoned.

        4.      Claims arising out of the rejection of Contracts, if any, must be filed on or before

 the later of (i) the deadline for filing proofs of claim established in these chapter 11 cases, if any,

 and (ii) thirty days after the later of (A) the date of entry of this Order approving rejection of the

 applicable Contract, and (b) the Rejection Date. If no proof of claim is timely filed, such claimant

 shall be forever barred from asserting a claim for damages arising from the rejection and from

 participating in any distributions on such a claim that may be made in connection with these

 chapter 11 cases.

        5.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted in this Order and the rejection without further order from this Court.

        6.      This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.




                                                   5
                   Case 23-18993-MBK               Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07                               Desc Main
                                                          Document    Page 14 of 16



                                                                           Schedule 1

                                                                     Rejected Contracts 1




1   For the avoidance of doubt, the Contracts referenced herein include any ancillary documents, including guaranties or assignments thereof, and any amendments,
    modifications, subleases, or termination agreements related thereto. The inclusion of a Contract on this list does not constitute an admission as to the executory
    or non-executory nature of the Contract, or as to the existence or validity of any claims held by the counterparty or counterparties to such Contract.
                                             Case 23-18993-MBK                       Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07                                                                 Desc Main
                                                                                            Document    Page 15 of 16

                                                                                                                                                     Store or                                                      Rejection
No.               Non-Debtor Counterparty             Counterparty Address        Contract Description                       Debtor Party                                       Location Address                                           Abandoned Personal Property
                                                                                                                                                     Surplus #                                                   Effective Date
                                                501 MADISON AVE, STE 702, NEW
1     AGS ANSONIA LLC                                                             UNEXPIRED LEASE        RITE AID OF CONNECTICUT, INC.         667               404 MAIN STREET, ANSONIA, CT 06401                1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                YORK, NEW YORK 10022
                                                307 FELLOWSHIP ROAD, SUITE
                                                                                                                                                                 3260 NORTH BROAD STREET, PHILADELPHIA, PA
2     OVERBROOK INVESTMENT PROPERTIES, LLC      300, MT. LAUREL, NEW JERSEY       UNEXPIRED LEASE        RITE AID OF PENNSYLVANIA, INC.        2587                                                                1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                                                                                                                                 19140
                                                08054
                                                540 EAST MAIN ST, STE 12,
3     STOOTHOFF NEC, LLC                                                          UNEXPIRED LEASE        GENOVESE DRUG STORES, INC.            10621             444 HILLSIDE AVENUE, WILLISTON PARK, NY 11596     1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                BRANFORD, CONNECTICUT 06405
                                                P.O. BOX 110158, BROOKLYN,
4     FOURTH AVENUES MANAGEMENT CORP.                                             UNEXPIRED LEASE        RITE AID OF NEW YORK, INC.            4269              6201-23 FOURTH AVENUE, BROOKLYN, NY 11220         1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                NEW YORK 11211
                                                555 CITY AVENUE, SUITE 1130,
5     CAPITAL ENTERPRISES INC.                  BALA CYNWYD, PENNSYLVANIA         UNEXPIRED LEASE        THRIFT DRUG, INC.                     11152             927 PAOLI PIKE, WEST CHESTER, PA 19380            1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                19004
                                                2044 PRINCE DRIVE, NAPLES,
6     HIGHCLIFF DEVELOPMENT CORPORATION                                           UNEXPIRED LEASE        THE LANE DRUG COMPANY                 2339              5033 SUDER AVENUE, TOLEDO, OH 43611               1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                FLORIDA 34110
                                                1595 ROUTE 112, PORT                                                                                             4332 CLEVELAND AVENUE, NW, CANTON, OH
7     1303 MAIN STREET LLC                                                        UNEXPIRED LEASE        RITE AID OF OHIO, INC.                3061                                                                1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                JEFFERSON, NEW YORK 11776                                                                                        44709
                                                2 BROADWAY, 20TH FLOOR, NEW                                                                                      26 GRAND CENTRAL TERMINAL, NEW YORK, NY
8     METROPOLITAN TRANSPORTATION AUTHORITY                                       UNEXPIRED LEASE        RITE AID OF NEW YORK, INC.            4964                                                                1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                YORK, NEW YORK 10004                                                                                             10017
                                                PO BOX 5160, GLEN ALLEN,
9     EH LUCKS LANE LLC                                                           UNEXPIRED LEASE        ECKERD CORPORATION                    11249             1104 COURTHOUSE ROAD, RICHMOND, VA 23236          1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                VIRGINIA 23058
10    SHAW'S SUPERMARKETS, INC.                 PO BOX 20, BOISE, IDAHO 83726     UNEXPIRED LEASE        MAXI DRUG NORTH, INC.                 10283             24 FORT EDDY PLAZA, CONCORD, NH 03301             1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                5215 OLD ORCHARD ROAD, STE                                                                                       840 SOUTH MILITARY HIGHWAY, VIRGINIA BEACH,
11    840 S MILITARY VIRGINIA BEACH                                               UNEXPIRED LEASE        ECKERD CORPORATION                    11275                                                               1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                880, SKOKIE, ILLINOIS 60077                                                                                      VA 23464
                                                185 BRIDGE PLAZA NORTH, SUITE
12    AVENUE X REALTY LLC                       212, FORT LEE, NEW JERSEY         UNEXPIRED LEASE        RITE AID OF NEW YORK, INC.            2612              344 AVENUE X, BROOKLYN, NY 11223                  1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                07024
                                                2150-B FRANKLIN ROAD,
13    WATTLES SQUARE CENTER, L.L.C.             BLOOMFIELD HILLS, MICHIGAN        UNEXPIRED LEASE        RITE AID OF MICHIGAN, INC.            4268              3986 JOHN R ROAD, TROY, MI 48083                  1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                48302
                                                540 FULTON AVENUE,
14    PETER BOLLINGER INVESTMENT                                                  UNEXPIRED LEASE        THRIFTY PAYLESS, INC.                 6058              31 FAIR LANE, PLACERVILLE, CA 95667               1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                SACRAMENTO, CALIFORNIA 95825
                                                4650 VON KARMAN AVE,
                                                                                                                                                                 30551 GATEWAY PLACE, RANCHO MISSION VIEJO,
15    SENDERO RETAIL LLC                        NEWPORT BEACH, CALIFORNIA         UNEXPIRED LEASE        THRIFTY PAYLESS, INC.                 6743                                                                1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                                                                                                                                 CA 92694
                                                92660
                                                287 ABBEY ROAD, MANHASSET,                                                                                       393 WINDSOR HIGHWAY, NEW WINDSOR, NY
16    393 WINDSOR LLC                                                             UNEXPIRED LEASE        RITE AID OF NEW YORK, INC.            159                                                                 1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                NEW YORK 11030                                                                                                   12553
                                                4470 LIVE OAK BLVD, DELRAY
17    GLANTZ CHESAPEAKE, LLC                                                      UNEXPIRED LEASE        ECKERD CORPORATION                    11254             1415 CEDAR ROAD., CHESAPEAKE, VA 23322            1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                BEACH, FLORIDA 33445
                                                PO BOX 13470, RICHMOND,                                                                                          DENBIGH VILLAGE CENTRE, 14260 WARWICK
18    MISHORIM GOLD NEWPORT NEWS LP                                               UNEXPIRED LEASE        RITE AID OF VIRGINIA, INC.            3726                                                                1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                VIRGINIA 23225                                                                                                   BOULEVARD, NEWPORT NEWS, VA 23602
                                                P.O. BOX 326, NORTH PLAINFIELD,
19    ARLONA LIMITED PARTNERSHIP                                                  UNEXPIRED LEASE        GENOVESE DRUG STORES, INC.            10632             126-128 JERICHO TURNPIKE, COMMACK, NY 11725       1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                NEW JERSEY 07061
                                                8445-106TH AVENUE NE, STE 100,
20    SEG 56TH LLC                                                                UNEXPIRED LEASE        The Bartell Drug Company              6943              14277 PACIFIC HIGHWAY, TUKWILA, WA 98168          1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                BELLEVUE, WASHINGTON 98004

                                                105 EISENHOWER PARKWAY,                                                                                          EWELL STATION SHOPPING CENTER, 5601B
21    WILLIAMSBURG MAZEL, LLC                                                     UNEXPIRED LEASE        RITE AID OF VIRGINIA, INC.            2421                                                                1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                ROSELAND, NEW JERSEY 07068                                                                                       RICHMOND ROAD, WILLIAMSBURG, VA 23185
                                                19 W. 34TH STREET, SUITE 918,
22    MERMAID PLAZA ASSOCIATES, INC.                                              UNEXPIRED LEASE        RITE AID OF NEW YORK, INC.            4257              3001-27 MERMAID AVENUE, BROOKLYN, NY 11224        1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                NEW YORK, NEW YORK 10001
                                                25 BUCKINGHAM COURT ,
23    LAKESIDE MEDICAL BUILDING LLC             HILLSBOROUGH, CALIFORNIA          UNEXPIRED LEASE        THRIFTY PAYLESS, INC.                 5927              1165 ARNOLD DRIVE, MARTINEZ, CA 94553             1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                94010
                                                PO BOX 2229, MORRISTOWN,
24    MILELLI REALTY PARTNERS, L.L.C.                                             UNEXPIRED LEASE        RITE AID OF PENNSYLVANIA, INC.        813               104 E THIRD STREET, BETHLEHEM, PA 18015           1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                NEW JERSEY 07962
                                                13636 VENTURA BLVD, STE 677,
25    MROF I SPE III-MARYSVILLE, LLC            SHERMAN OAKS, CALIFORNIA          UNEXPIRED LEASE        THRIFTY PAYLESS, INC.                 5243              251 MARYSVILLE MALL, MARYSVILLE, WA 98270         1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                91423
                                                1617 JFK BLVD, STE 1840,
                                                                                                                                                                 1628-36 CHESTNUT STREET, PHILADELPHIA, PA
26    PHILADELPHIA RETAIL TRUST 1998, L.P.      PHILADELPHIA, PENNSYLVANIA        UNEXPIRED LEASE        RITE AID OF PENNSYLVANIA, INC.        174                                                                 1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                                                                                                                                 19103
                                                19103
                                                1525 SLATE HILL ROAD, CAMP                                                                                       105 OLD YORK ROAD, NEW CUMBERLAND, PA
27    CALDWELL DEVELOPMENT, INC.                                                  UNEXPIRED LEASE        RITE AID OF PENNSYLVANIA, INC.        418                                                                 1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                HILL, PENNSYLVANIA 17011                                                                                         17070
                                                992 BEDFORD AVENUE,
28    EDWARDSVILLE MALL LP                                                        UNEXPIRED LEASE        RITE AID OF PENNSYLVANIA, INC.        2426              39 WEST SIDE MALL, EDWARDSVILLE, PA 18704         1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                BROOKLYN, NEW YORK 11205
                                                1262 SCOTT STREET, SAN DIEGO,
29    RA CLEVELAND TRUST                                                          UNEXPIRED LEASE        RITE AID OF OHIO, INC.                2640              5411 SUPERIOR AVENUE, CLEVELAND, OH 44103         1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                CALIFORNIA 92106
                                                P.O. BOX 784, WALLED LAKE,
30    ALLEN VH ASSOCIATES, LLC                                                    UNEXPIRED LEASE        PERRY DRUG STORES, INC.               4335              25050 ALLEN ROAD, WOODHAVEN, MI 48183             1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                MICHIGAN 48390
                                                10381 MISSISSIPPI AVE, LOS
31    COLLEGE BLOCK                                                               UNEXPIRED LEASE        THRIFTY PAYLESS, INC.                 5548              18444 PLUMMER STREET, NORTHRIDGE, CA 91325        1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                ANGELES, CALIFORNIA 90025
                                                3390 SPRING CREEK ROAD,
32    MAYSVILLE PO HOLDINGS LLC                                                   UNEXPIRED LEASE        KEYSTONE CENTERS, INC.                210               621 CLAY AVENUE, JEANNETTE, PA 15644              1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                BRIDGEWATER, VIRGINIA 22812
                                                5150 OVERLAND AVE, CULVER
33    SMITH STREET REALTY LLC                                                     UNEXPIRED LEASE        RITE AID OF NEW YORK, INC.            4733              182 SMITH STREET, BROOKLYN, NY 11201              1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                CITY, CALIFORNIA 90230
                                                4875 NOVI RD, UNIT 967, NOVI,
34    TEL-HURON COMMERCIAL LLC                                                    UNEXPIRED LEASE        RITE AID OF MICHIGAN, INC.            4697              3 SOUTH TELEGRAPH ROAD, PONTIAC, MI 48341         1/31/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                                MICHIGAN 48376




                                                                                                                                      1 of 2
                                           Case 23-18993-MBK                   Doc 1644 Filed 01/29/24 Entered 01/29/24 15:01:07                                                       Desc Main
                                                                                      Document    Page 16 of 16

                                                                                                                                         Store or                                                   Rejection
No.              Non-Debtor Counterparty            Counterparty Address    Contract Description                    Debtor Party                                   Location Address                                         Abandoned Personal Property
                                                                                                                                         Surplus #                                                Effective Date
                                              3347 MICHELSON DR, STE 200,                                                                            29555 S.W. BOONES FERRY ROAD, WILSONVILLE,
35    29555 SW FERRY ROAD CO., LLC                                          UNEXPIRED LEASE        THRIFTY PAYLESS, INC.            80                                                              4/30/2024      MISCELLANEOUS FF&E AND/OR RETAIL FIXTURES
                                              IRVINE , CALIFORNIA 92612                                                                              OR 97070




                                                                                                                           2 of 2
